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                                    United States District Court
                                       District Of Maryland
     Chambers of                                                                    101 West Lombard Street
Ellen Lipton Hollander                                                              Baltimore, Maryland 21201
  District Court Judge                                                                    410-962-0742

                                               February 22, 2022

       MEMORANDUM TO COUNSEL

              Re:        Boshea v. Compass Marketing, Inc.
                         Civil Action No. ELH-21-309

       Dear Counsel:

              As you know, plaintiff David Boshea has filed suit against defendant Compass
       Marketing, Inc. (“Compass”), alleging that Compass owes him severance pay pursuant to a
       purported employment agreement. He has lodged claims for breach of contract; violation of the
       Maryland Wage Payment and Collection Law (“MWPCL”), Md. Code (2016 Repl. Vol., 2021
       Supp.), §§ 3-501 et seq. of the Labor and Employment Article; and the Illinois Wage Payment
       and Collection Act. See ECF 1 (the “Complaint”); ECF 27 (the “First Amended Complaint”);
       ECF 48 (the “Second Amended Complaint”).

              Compass has answered. See ECF 14 (Answer to Complaint); ECF 37 (Answer to First
       Amended Complaint); ECF 53 (Answer to Second Amended Complaint). In addition, Compass
       has filed a Counterclaim against Boshea, and a Third-Party Complaint against currently
       unidentified John Doe(s). ECF 38. Boshea has answered the Counterclaim. ECF 45.

               On June 29, 2021, I entered a Scheduling Order. ECF 20. Among other things, it set a
       discovery deadline of December 1, 2021, and provided that a status report was due the same
       date. Id. at 2. And, it set a dispositive motions deadline of January 7, 2022. Id. On November 29,
       2021, the Court granted a consent motion (ECF 72) extending the discovery and status report
       deadline to January 14, 2022, and the dispositive motions deadline to February 15, 2022. ECF
       73.

              On October 5, 2021, the case was referred to Magistrate Judge A. David Copperthite for
       discovery. ECF 58. And, on January 19, 2022, I expanded this referral to include related
       scheduling. ECF 83.

               The parties have had discovery disputes, including disputes involving third parties. See
       ECF 31; ECF 33; ECF 36; ECF 54; ECF 63; ECF 64; ECF 81. In this context, Compass moved
       on January 14, 2022, to further extend the discovery deadline. ECF 79. Boshea responded with
       an alternative extension proposal. ECF 82. On February 3, 2022, Magistrate Judge Copperthite
       issued an Order that, inter alia, denied the extension motion. ECF 92. Thus, the January 14,
       2022, and February 15, 2022, deadlines have not been modified.
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        On February 15, 2022, consistent with the above deadline, Compass filed a motion for
partial summary judgment, solely as to Boshea’s MWPCL claim. ECF 93. However, the status
report due on January 14, 2022, was not submitted. See Docket.

       Accordingly, by March 8, 2022, counsel are directed to file a status report, joint if
possible, addressing the issues referred to in the Scheduling Order. See ECF 20 at 3.

        Despite the informal nature of this Memorandum, it is an Order of the Court, and the
Clerk is directed to docket it as such.

                                      Very truly yours,

                                          /s/
                                      Ellen Lipton Hollander
                                      United States District Judge




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